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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )                4:05CR3060
           v.                        )
                                     )
OCTAVIO DELVILLAR and                )
FERNANDO NUNEZ,                      )                   ORDER
                                     )
                Defendants.          )
                                     )



     IT IS ORDERED:

     Defendant Nunez’s motion to continue trial, filing 41, is
granted, and

     1. Trial as to both defendants is continued to 9:00 a.m.,
March 27, 2006, before the Honorable Richard G. Kopf in
Courtroom 1, United States Courthouse and Federal Building,
100 Centennial Mall North, Lincoln, Nebraska. Jury selection
will be held at commencement of trial.

     2. The ends of justice will be served by granting such a
motion, and outweigh the interests of the public and the
defendants in a speedy trial, and the additional time arising as
a result of the granting of the motion, the time between
February 14, 2006 and March 27, 2006 shall be deemed excludable
time in any computation of time under the requirements of the
Speedy Trial Act, for the reason that the parties require
additional time to adequately prepare the case, taking into
consideration due diligence of counsel, the novelty and
complexity of the case, and the fact that the failure to grant
additional time might result in a miscarriage of justice.
18 U.S.C. § 3161(h)(8)(A) & (B).

     DATED this 14th day of February, 2006.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
